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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

 JAKUB MADEJ,
      Plaintiff,                                            Civil Action No. 20cv133(JCH)

        v.                                                  JURY TRIAL DEMANDED

 YALE UNIVERSITY et al.,                                    AUGUST 12, 2020
      Defendants.

                     PLAINTIFF’S OPPOSITION TO
          DEFENDANT YALE UNIVERSITY’S MOTION TO QUASH
  PLAINTIFF’S CROSS-MOTION TO COMPEL COMPLIANCE WITH SUBPOENA
       Yale’s motion to quash is a legal nullity because Yale lacks standing to even move to

block a non-party deposition, let alone actually block one. Yale’s argument is thus, as a matter of

law, fatally flawed. Yale misleadingly characterizes Mr. Raghavan an “agent” of Yale University

(ECF #143, at 1), only to later admit that he is a “non-party” (ECF #143-1, at 4). (Neither status

would confer on Yale the necessary standing to move to quash, as later demonstrated). Yale’s

remaining arguments fail because the University failed to show prejudice from an alleged delay

in satisfying the Rule 45 notice requirement, or from its assertions that requests are duplicative.

Present before the Court is a normal deposition subpoena, and no reason exists to quash it but

defendant’s fear to engage with facts.

       The court should promptly deny Yale’s motion, and grant plaintiff’s cross-motion to

order Mr. Raghavan to appear at the properly noticed deposition. This motion is based on the

accompanying memorandum of law, a sworn declaration, and three exhibits.


Dated: August 12, 2020                            Respectfully submitted,
                                                  By: /s/ Jakub Madej
                                                     Jakub J. Madej
                                                      LAWSHEET
                                                     415 Boston Post Rd Ste 3-1102
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                                  Milford, CT 06460
                                  T: (203) 928-8486
                                  F: (203) 902-0070
                                  E: j.madej@lawsheet.com
